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        EXHIBIT 96-B
    Redacted Version of
Document Sought to be Sealed
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                                  30(b)(6) Deposition Notes (6/2/2022)



What did I do for preparation?

              ~38 hours of meetings; 10 sessions; over 4 weeks.
              10 hours of reviewing documents.
              Who did I speak with?
                   o Data Science: Maggie Ji; Gerardo Zaragoza regarding Hive and TAO.
                   o FTech: Oriana Torres and Ricardo Brums regarding retention of unstructured
                      data (e.g., GSuite; Dropbox; Quip; internal tools)
                   o CM: Jennifer Allen regarding the legal hold notice for this case.
                   o InfoGov: Yodi Hailemariam regarding corporate policies including FTCO & US
                      Privacy Program records management policies.
                   o Mayur Patel: Software engineer on Privacy team. Discussions regarding TAO.

Information Governance: Responsible for risk assessment, and also responsible for legal and regulatory
compliance of Company records. Global Records Management within InfoGov team is responsible for
establishing, implementing and managing policies and procedures regarding creation, use, retention and
disposition of Company Records.

Records: A Record is recorded information that:

              Is created, received or maintained by an Facebook Personnel in that person’s business
               capacity;
              Relates to Facebook or its business;
              Is in the possession, custody, or control of Facebook; and
              Is subject to legal or regulatory retention requirements or that is necessary for the
               operation of the business.

Cambridge Analytica Legal Hold:

                                     of legal hold notice.
           
                   o




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            




DYI: Currently eight named plaintiffs. Did not receive UID, email, or phone number for named
plaintiffs until Dec. 2019 – Jan. 2020.

                Information that FB has about its users in human readable form.
                Pulls information from a dynamic dataset (including TAO).
                User generated data; some observed data; some derived data.

 Steve Akins             User Accounts: Jan 23, 2020; March 15, 2022; April 16, 2022
                         Pages (Admin Only): N/A
 Jason Ariciu            User Accounts: Jan 23, 2020; March 15, 2022; April 16, 2022
                         Pages (Admin Only): Dec. 23, 2021; Jan. 4, 2022
 Anthony Bell            User Accounts: Jan 23, 2020; March 15, 2022; April 16, 2022
                         Pages (Admin Only): Oct. 26, 2021
 Bridgett Burke (2       User Accounts: Jan 23, 2020; Oct. 6, 2021 (second account); March 15, 2022;
 accounts)               April 16, 2022
                         Pages (Admin Only): N/A
 Terry Fischer           User Accounts: Jan 23, 2020; April 20, 2020; March 15, 2022; April 16, 2022
                         Pages (Admin Only): N/A
 Tyler King (deleted     User Accounts: March 15, 2022 (nothing available as of this date)
 account 2018)           Pages (Admin Only): N/A
 Jordan O’Hara           User Accounts: Jan 23, 2020; March 15, 2022; April 16, 2022
                         Pages (Admin Only): Oct. 26, 2021
 Cheryl Senko            User Accounts: Jan 23, 2020; March 15, 2022; April 16, 2022
                         Pages (Admin Only): Nov. 23, 2021


TAO (The Associations & Objects): TAO is information contained within Facebook’s production systems.
Relationship between users (objects). Data is pulled from
                                   . DYI /              takes a snapshot.




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                    o   Hive on hold: Legal hold setting; eDiscovery is the only team who has ability to
                        put Hive data on legal hold.
                            




                    o       Hive tables on legal hold.

Deprecated Systems: Facebook’s practice regarding deprecated systems is to transfer data from the
deprecated system to the new system. Only storage system scheduled to be deprecated is
which stores large files (e.g., Photos; Videos).         is the new storage system and data is being
migrated from              to            Not aware of any other deprecated systems containing plaintiff
data.




                                                                                   ADVANCE-META-00003259
